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                                                                             (SPACE BELOW FOR FILING STAMP ONLY)
 1
      ROGER D. WILSON SBN: 192207
 2   LAW OFFICE OF ROGER D. WILSON
              2377 West Shaw Avenue, Suite 208
                   Fresno, California 93711
 3               Telephone: (559) 233-4100
                  Facsimile: (559) 746-7200
 4                  roger@wilson-law.com

 5

 6   Attorney for Defendant, JOSE DELATORRE,
 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                  ******
11
     UNITED STATES OF AMERICA,                            Case No.: 1:16-CR-00122-DAD
12
                           Plaintiff,                     STIPULATION TO RETURN THE
13
                                                          PREVIOUSLY SURRENDERED
14                 v.                                     PASSPORT TO JOSE DELATORRE;
                                                          ORDER.
15   JOSE DELATORRE,
16                         Defendant.
17

18             Defendant JOSE DELATORRE, by and through his counsel of record, ROGER D.
19   WILSON, and Plaintiff United States of America, by and through its counsel of record
20   McGREGOR W. SCOTT, United States Attorney and MELANIE L. ALSWORTH, Assistant
21   U.S. Attorney, hereby stipulate to the following release of Mr. DELATORRE’S passport:
22            1.        By previous order, on July 20, 2016, Mr. DELATORRE was ordered to surrender
23   his United States passport as collateral.
24            2.        On July 26, 2016, pursuant to the aforementioned Order, Mr. DELATORRE
25   surrendered his United States passport number 482649969 to the court.
26            3.        On September 5, 2018, the indictment pending against Mr. DELATORRE in this
27   case was dismissed with prejudice and Mr. DELATORRE was ordered released from custody.
28   ///


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 1           4.     Therefore, it is stipulated that the requirement that Mr. DELATORRE surrender

 2   his United States passport be rescinded.

 3          5.      It is further stipulated that Mr. DELATORRE’S passport be returned to him

 4   forthwith.

 5

 6   IT IS SO STIPULATED.

 7   DATED:         09/12/2018                                   /s/ Melanie L. Alsworth
                                                                 MELANIE L. ALSWORTH
 8                                                               Assistant United States Attorney

 9   DATED:         09/12/2018                                   /s/ Roger D. Wilson
                                                                 ROGER D. WILSON
10
                                                                 Attorney for Jose Delatorre
11

12

13                                              ORDER

14          IT IS SO FOUND AND ORDERED that the above Stipulation Ordering the Return of

15   Defendant’s United States Passport is hereby approved and the requirements set forth in

16   paragraphs Four (4) and Five (5) of the Stipulation are adopted as a finding by the Court.

17
     IT IS SO ORDERED.
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19      Dated:     September 12, 2018
                                                         UNITED STATES DISTRICT JUDGE
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